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 5
 6                              UNITED STATES DISTRICT COURT

 7                                    DISTRICT OF NEVADA

 8                                              ***

 9 UNITED STATES OF AMERICA,           )
                                       )
10             Plaintiff,              )
                                       )
11 vs.                                 )              2:06-cr-210-LDG-LRL
                                       )
12 TOMMY   MUCKLOW,                    )
                                       )
13             Defendant.              )                      ORDER
   ____________________________________)
14
15                On August 8, 2011, the Federal Public Defender was appointed to represent

16 Tommy Mucklow. The Court has been advised that a conflict exists. Therefore;
17                IT IS HEREBY ORDERED that James A. Oronoz, Esq. is appointed as counsel for

18 Tommy Mucklow in place of the Federal Public Defender for all future proceedings.
19                The Federal Public Defender shall forward the file to Mr. Oronoz forthwith.

20
                  DATED this _____day of August 2011.
21
                  Nunc Pro Tunc: August 12, 2011.
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23
                                                      _____________________________________
24                                                    LLOYD D. GEORGE
                                                      UNITED STATES DISTRICT JUDGE
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